                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

In the Matter of the Petition

                of

GRACE OCEAN PRIVATE LIMITED, as
Owner of the M/V DALI,
                                                          Docket No. JKB 24-cv-941
                and
                                                          IN ADMIRALTY
SYNERGY MARINE PTE LTD, as Manager
of the M/V DALI,

for Exoneration from or Limitation of Liability


                          ANSWER OF CLAIMANT/RESPONDENT,
                       MAYOR AND CITY COUNCIL OF BALTIMORE,
                      TO THE PETITION FOR EXONERATION FROM OR
                               LIMITATION OF LIABILITY

        COMES         NOW   Claimant/Respondent,     MAYOR       AND   CITY     COUNCIL       OF

BALTIMORE (“Claimant”), which hereby answers the Petition for Exoneration from or

Limitation of Liability filed herein by admitting, denying, and alleging, on information and

belief, as follows:

        1.      Claimant admits to the admiralty and maritime jurisdiction of this Court, but

specifically demands the right to a trial by jury in a forum of its choice. As to the remaining

allegations in Paragraph 1, no response is required of Claimant. To the extent that a response is

required, the allegations are denied.

        2.      Claimant admits that Venue is proper in this Court.

        3.      Claimant admits that Petitioners allege that GRACE OCEAN PRIVATE

LIMITED (“Grace Ocean”) is a registered owner of the M/V DALI (the “Dali” or “Vessel”), but
currently lacks sufficient information to form a belief about the other allegations in Paragraph 3

and, on that basis, denies those allegations.

       4.      Claimant admits that Petitioners allege that SYNERGY MARINE PTE LTD

(“Synergy”) was a manager of the Dali at all relevant times hereto, but currently lacks sufficient

information to form a belief about the other allegations in Paragraph 4 and, on that basis, denies

those allegations.

       5.      Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 5 and, on that basis, denies those allegations.

       6.      Claimant admits that the Francis Scott Key Bridge (“Key Bridge”) was a 1.6-mile

span over the Patapsco River at the outer crossing of the Baltimore Harbor, and that the Key

Bridge was completed in 1977 and made up part of Interstate 695, also known as the Baltimore

Beltway. Claimant denies and disputes the remaining allegations set forth in Paragraph 6.

       7.      Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 7 and, on that basis, denies those allegations.

       8.      Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 8 and, on that basis, denies those allegations.

       9.      Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 9 and, on that basis, denies those allegations.

       10.     Claimant admits that, at or about 1:28am local time on March 26, 2024, the Dali

allided with the Key Bridge.

       11.     Claimant admits that, as a result of the allision, portions of the Key Bridge

collapsed and were damaged, but currently lacks sufficient information to form a belief about the

other allegations in Paragraph 11 and, on that basis, denies those allegations.




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       12.     Claimant admits that, as a result of the Dali’s allision with the Key Bridge, at least

two construction workers suffered injuries, four construction workers died, and two construction

workers remain missing but are presumed dead. Claimant lacks sufficient information to form a

belief about the other allegations in Paragraph 12.

       13.     Claimant denies and disputes the allegations, beliefs, and legal conclusions set

forth in Paragraph 13.

       14.     Claimant denies and disputes the allegations, beliefs, and legal conclusions set

forth in Paragraph 14.

       15.     Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 15 and, on that basis, denies those allegations.

       16.     Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 16 and, on that basis, denies those allegations.

       17.     Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 17 and, on that basis, denies those allegations.

       18.     Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 18 and, on that basis, denies those allegations.

       19.     Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 19 and, on that basis, denies those allegations.

       20.     Claimant admits that Petitioners have offered an Interim Stipulation of Value in

the amount of $43,670,000. Claimant admits that this Interim Stipulation is substantially less

than the amount that will be claimed for losses and damages arising out of the Dali’s allision

with the Key Bridge. Claimant currently lacks sufficient information to form a belief about the

other allegations in Paragraph 20 and, on that basis, denies those allegations.




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          21.    Claimant currently lacks sufficient information to form a belief about the

allegations of Paragraph 21 and, on that basis, denies those allegations.

          22.    Claimant admits the allegation of Paragraph 22.

          23.    Claimant denies and disputes the allegations, beliefs, and legal conclusions set

forth in Paragraph 23, and further denies that Petitioners are entitled to the relief claimed therein.

          24.    Claimant denies and disputes the allegations, beliefs, and legal conclusions set

forth in Paragraph 24, and further denies that Petitioners are entitled to the relief claimed therein.

                            CLAIMANT’S AFFIRMATIVE DEFENSES

                                           FIRST DEFENSE

          The allegations of the Petition for Exoneration from or Limitation of Liability fail to state

a claim upon which relief may be granted.

                                         SECOND DEFENSE

          Claimant reserves the right to challenge Petitioners’ alleged value of the Dali, her

engines, apparel, appurtenances, pending freight any other assets described or whose existence is

implied in the Petition, and the adequacy of the security posted.

                                          THIRD DEFENSE

          The limitation fund is inadequate and the Petition for Exoneration from or Limitation of

Liability should be dismissed because Petitioners have failed to deposit adequate security for the

Vessel.

                                         FOURTH DEFENSE

          Petitioners are not entitled to limit their liability in the instant case because, at all times

relevant to this litigation, the Dali was operated in a willful, wanton, and reckless manner or, in

the alternative, the conduct and actions which led to Claimant’s damages and losses took place




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with the privity and knowledge of Petitioners and the owners, managing owners, owners pro hac

vice, and/or operators of the Dali.

                                        FIFTH DEFENSE

       Petitioners are not entitled to limit their liability in the instant case because, at all times

relevant to this litigation, the Dali was known by Petitioners and by the owners, managing

owners, owners pro hac vice, and/or operators of the Dali to be unseaworthy for, among other

things, failing to properly train the crew, failing to follow safe work and operational procedures,

failing to properly maintain the vessel and its appurtenances, failing to properly equip the vessel,

failing to conduct adequate inspections of the vessel and its appurtenances, failing to properly

supervise the work with competent employees, failing to provide a competent crew and safe

equipment, improper management of the Dali and/or her crew, and/or other failure, acts, or

omissions of the Petitioners and of the Dali which may be shown at trial.

                                       SIXTH DEFENSE

       Petitioners are not entitled to limit their liability in the instant case because Petitioners

and the owners, managing owners, owners pro hac vice, charterers and/or operators of the Dali

did not use due diligence to make the vessel seaworthy at the outset of the voyage on which the

subject casualty occurred.

                                      SEVENTH DEFENSE

       The incident and resulting damages and losses which are the subject of the Petition for

Exoneration from or Limitation of Liability were caused by the fault, negligence, breach of

warranty, statutory and regulatory violations of Petitioners, their agents, servants, contractors,

and/or employees, all of which was within the privity and knowledge of Petitioners and,

therefore, Petitioners’ prayer for a decree of exoneration from liability must be denied.




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                                      EIGHTH DEFENSE

       The incident and resulting damages which are the subject of the Petition for Exoneration

from or Limitation of Liability were caused by the unseaworthiness of the Dali and the

negligence of the vessel’s crew and shoreside management, and, therefore, Petitioners’ prayer for

a decree of exoneration from liability must be denied.

                                       NINTH DEFENSE

       The Petition for Exoneration from or Limitation of Liability contains vague and

ambiguous statements which are objectionable under Federal Rule of Civil Procedure 12(e), and

Claimant seeks more definite statements of the allegations, regardless of the nature, manner and

extent of the within Answer and Claim.

                                       TENTH DEFENSE

       The events culminating in the damages and losses of Claimant were the result of

negligence, fault, or want of due care on the part of Petitioners and/or those for whom Petitioners

are responsible, and/or the unseaworthiness of the Dali, all of which was within the privity and

knowledge of Petitioners, for which the Petition for Exoneration from or Limitation of Liability

should be denied.

                                     ELEVENTH DEFENSE

       The events culminating in the damages and losses sustained by Claimant were not the

result of any negligence, fault, or want of due care on the part of Claimant.

                                     TWELFTH DEFENSE

       In filing this Answer and Claim, Claimant specifically reserves all rights to pursue all

available claims in federal court.




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                                    THIRTEENTH DEFENSE

       Claimant specifically reserves all rights to pursue all available claims and no part of this

Answer and Claim shall be construed to be a waiver of these rights.

                                   FOURTEENTH DEFENSE

       Claimant specifically reserves the right to pursue all available claims in State Court,

pursuant to the “Savings to Suitors” clause, 28 U.S.C. § 1333, the general maritime law, and all

other remedies (including state law remedies), for resolution of any and all issues beyond a

determination of whether admiralty jurisdiction exists and whether limitation is required. The

filing of this Claim is in no way a waiver of these rights and defenses, and Claimant is not

agreeing to join all issues in this proceeding by filing this Claim.

                                     FIFTEENTH DEFENSE

       Claimant presently lacks sufficient knowledge or information to formulate all affirmative

defenses that may ultimately prove to be applicable herein and reserves the right to later assert

additional affirmative defenses in the event that additional facts become known to it that would

justify the assertion of additional defenses.

       WHEREFORE, Claimant, Mayor and City Council of Baltimore, requests that this

Court deny Petitioners’ petition for exoneration from liability, deny Petitioners’ petition for

limitation of liability, and find Petitioners jointly and severally liable for all damages arising

from the allision of the Dali into the Key Bridge on March 26, 2024, including all claims of

Claimant.




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Dated: April 22, 2024              Respectfully submitted,

                                   THE MAYOR AND CITY COUNCIL OF
                                   BALTIMORE, MARYLAND

                                   Ebony M. Thompson (Bar No. 18968)
                                   Baltimore City Solicitor

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                                   ______________________________
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* pro hac vice motions to be filed

Counsel for the Mayor and City Council of
Baltimore, Maryland




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                               CERTIFICATE OF SERVICE

       In compliance with Supplemental Federal Rule F(5), I HEREBY CERTIFY that on the

22nd day of April, 2024, I electronically filed the foregoing pleading with the Clerk of Court by

using the CM/ECF system which will send a notice of electronic filing to all counsel who are

CM/ECF participants.


                                                    ______________________________
                                                    Sara Gross (Bar No. 27704)
                                                    Chief Solicitor
                                                    Baltimore City Department of Law




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